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                                                        7   Sorenson, Ofc. Sandoval and Ofc. Doolittle
                                                        8                          UNITED STATES DISTRICT COURT
                                                        9                                  DISTRICT OF NEVADA
                                                       10 JOSE DECASTRO,                                                Case Number:
                                                                                                                   2:23-cv-00580-APG-EJY
                                                       11                               Plaintiff,
                                                       12         vs.                                       DEFENDANTS’ NOTICE OF MANUAL
MARQUIS AURBACH

                  (702) 382-0711 FAX: (702) 382-5816




                                                                                                            FILING OF EXHIBITS A THROUGH F
                                                       13 LAS VEGAS METROPOLITAN POLICE                       AND EXHIBIT H TO MOTION TO
                        Las Vegas, Nevada 89145
                          10001 Park Run Drive




                                                          DEPARTMENT; STATE OF NEVADA;                        DISMISS PLAINTIFF’S SECOND
                                                       14 BRANDEN BOURQUE; JASON TORREY;                    AMENDED COMPLAINT, OR IN THE
                                                          C. DINGLE; B. SORENSON; JESSE                        ALTERNATIVE, MOTION FOR
                                                       15 SANDOVAL; OFFICER DOOLITTLE and                   SUMMARY JUDGMENT (ECF NO. 66)
                                                          DOES 1 to 50, inclusive,
                                                       16
                                                                                   Defendants.
                                                       17

                                                       18         Defendants Las Vegas Metropolitan Police Department, Ofc. Torrey, Ofc. Bourque,
                                                       19 Ofc. Dingle, Ofc. Sorenson, Ofc. Sandoval and Ofc. Doolittle, by and through their

                                                       20 attorneys of record, Marquis Aurbach, hereby submit their Notice of Manual Filing of

                                                       21         ///
                                                       22

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                                                                                                     Page 1 of 2
                                                                                                                                  MAC:14687-456 5316849_1
                                                              Case 2:23-cv-00580-APG-EJY Document 67 Filed 12/12/23 Page 2 of 4



                                                        1 Exhibits A through F (flash drive containing body worn camera footage) and Exhibit H

                                                        2 (flash drive containing video) to Motion to Dismiss Plaintiff’s Second Amended Complaint,

                                                        3 or in the alternative, Motion for Summary Judgment (ECF No. 66).

                                                        4          Dated this 12th day of December, 2023.
                                                        5                                               MARQUIS AURBACH

                                                        6
                                                                                                        By /s/ Craig R. Anderson
                                                        7                                                  Craig R. Anderson, Esq.
                                                                                                           Nevada Bar No. 6882
                                                        8                                                  10001 Park Run Drive
                                                                                                           Las Vegas, Nevada 89145
                                                        9                                                  Attorneys for Defendants

                                                       10                                CERTIFICATE OF SERVICE

                                                       11          I hereby certify that I electronically filed the foregoing DEFENDANTS’ NOTICE

                                                       12 OF MANUAL FILING OF EXHIBITS A THROUGH F AND EXHIBIT H TO
MARQUIS AURBACH

                  (702) 382-0711 FAX: (702) 382-5816




                                                       13 MOTION TO DISMISS PLAINTIFF’S SECOND AMENDED COMPLAINT OR IN
                        Las Vegas, Nevada 89145
                          10001 Park Run Drive




                                                       14 THE ALTERNATIVE, MOTION FOR SUMMARY JUDGMENT (ECF NO. 66) with

                                                       15 the Clerk of the Court for the United States District Court by using the court’s CM/ECF
                                                                          th
                                                       16 system on the 12 day of December, 2023.

                                                       17                I further certify that all participants in the case are registered CM/ECF users
                                                          and that service will be accomplished by the CM/ECF system.
                                                       18                I further certify that some of the participants in the case are not registered
                                                          CM/ECF users. I have mailed the foregoing document by First-Class Mail, postage prepaid,
                                                       19 or have dispatched it to a third-party commercial carrier for delivery within 3 calendar days
                                                          to the following non-CM/ECF participants:
                                                       20

                                                       21                                            Jose DeCastro
                                                                                                  1258 Franklin Street
                                                       22                                       Santa Monica, CA 90404
                                                                                                    Plaintiff Pro Se
                                                       23

                                                       24
                                                                                                         /s/ Sherri Mong
                                                       25                                               an employee of Marquis Aurbach

                                                       26

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        Exhibits A - F
 Flash Drive Containing Body
Worn Camera video evidence of
      Defendant Officers
 Case
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                       Exhibit H

    Flash Drive containing
 DeCastro's YouTube video
detailing the subject incident,
which is comprised of his own
 video footage, clips of BWC
   footage, and DeCastro's
  overlayed text commentary
